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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                            *
                                                    *
          v.                                        *
                                                    *               Criminal No. TDC-20-33
BRIAN MARK LEMLEY, JR.,                             *
PATRIK JORDAN MATHEWS, and                          *
WILLIAM GARFIELD BILBROUGH                          *
IV                                                  *
                                                    *
*     *        *   *    *    *      *     *     *           *   *   *    *    *    *     *     *     *


    BRIAN MARK LEMLEY’S MOTION TO ADOPT MOTIONS OF CO-DEFENDANTS


          Defendant Brian Mark Lemley, Jr., through undersigned counsel, hereby moves to adopt

pre-trial motions filed by his co-defendants, to the extent that those motions raise issues and challenges

that are relevant to Mr. Lemley and his defense.

                                                Respectfully submitted,

                                                JAMES WYDA
                                                Federal Public Defender

                                                             /s/
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